                      UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW MEXICO



In re: LAS UVAS VALLEY DAIRIES, Debtor                               No. 17-12356-t11



     FRANCES AND DEAN HORTON’S OBJECTION TO THE FIRST AMENDED
    CHAPTER 11 PLAN FILED MAY 9, 2018 BY METLIFE, PRODUCTION CREDIT
    ASSOCIATION AND THE UNSECURED CREDITORS’ COMMITTEE (Doc. 376)



       Come Now, Frances and Dean Horton, partners in the Debtor, Las Uvas Valley Dairies,

by counsel, pursuant to 11 U.S.C. Sec. 1129(b)(1) and (2) and object to the First Amended

Chapter 11 Plan of Liquidation filed on May 9, 2018 by Metropolitan Life Insurance Company,

Production Credit Association Of Southern New Mexico and the Unsecured Creditors’

Committee (the “Plan”), and they state as follows:

       1.      The Hortons are members of Class 9, the equity class under the proposed Plan.

Class 9, which is impaired, has not accepted the Plan.

       2.      The Hortons join in, adopt and incorporate the objections to the Plan filed by the

United States Trustee on June 5, 2018 Doc. 411, and the objections to the Plan filed by Las Uvas

Valley Dairies on June 6, 2018 Doc 416.

       3.      The proposed sale of the Milk Retains at a 70% discount/loss (Plan para. 2.5 c)

before sale of the real estate on which PCA is also secured, is unnecessary, not

commercially reasonable, and deprives Class 8 and Class 9 of over $ 3.6 million. Therefore the

Plan is neither commercially reasonable nor fair and equitable with respect to Class 9.

       Frances and Dean Horton therefore request that confirmation of the Plan be denied.




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                                     Respectfully submitted,

                                     s/s Clifford C. Gramer, Jr.
                                     Submitted electronically
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I certify that a copy of the foregoing Objection was served on all counsel of record in this case
by the court clerk’s CM/ECF electronic filing and notice system the date this pleading was filed.

                                     /s/ Clifford C. Gramer, Jr
                                     Clifford C Gramer, Jr.




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